 Case 3:16-cv-01412-BEN-MDD Document 416 Filed 05/23/19 PageID.10444 Page 1 of 1


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 8                           UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   THE ESTATE OF RUBEN NUNEZ by                        Case No.: 3:16-cv-01412-BEN-MDD
     and through its successor-in-interest
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     LYDIA NUNEZ, ALBERT NUNEZ, and                      ORDER CONTINUING TRIAL
13   LYDIA NUNEZ,                                        DATE AND SETTING FINAL
                                       Plaintiffs,       PRETRIAL CONFERENCE
14
15   v.
16   COUNTY OF SAN DIEGO, et al,
17                                   Defendants.
18
19         The June 4, 2019 trial date is hereby vacated and continued to June 10, 2019 at
20   9:30 a.m. In addition, the parties are ordered to appear for a final pretrial conference on
21   May 29, 2019 at 10:30 a.m.
22         IT IS SO ORDERED.
23
24   DATED: May 23, 2019                             _______________________________
                                                     HON. ROGER T. BENITEZ
25
                                                     United States District Judge
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                                                                             3:16-cv-01412-BEN-MDD
